Case 20-06041-sms   Doc 14   Filed 05/27/20 Entered 05/27/20 14:23:01          Desc Main
                             Document     Page 1 of 3




  IT IS ORDERED as set forth below:



  Date: May 27, 2020
                                             _________________________________

                                                        Sage M. Sigler
                                                 U.S. Bankruptcy Court Judge

 ________________________________________________________________
             IN THE UNITED STATES BANKRUPTCY COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

 IN RE:                                          Chapter 13

 ALEXANDER ELLIOTT KAHN and                      Case No. 19-67743-SMS
 KATHERINE ELIZABETH KAHN




 COLLETTE MCDONALD and                           Adversary Proceeding
 COLLETTE MCDONALD & ASSOCIATES,
 LLC,                                            Case No.: 20-06041-SMS

      PLAINTIFFS,

 v.

 ALEXANDER ELLIOTT KAHN,

      DEFENDANT.



                       CONSENT SCHEDULING ORDER
Case 20-06041-sms        Doc 14    Filed 05/27/20 Entered 05/27/20 14:23:01   Desc Main
                                   Document     Page 2 of 3




       Upon review of the information contained in the Rule 26(f) Report completed and

filed by the parties on May 12, 2020 and incorporated herein, it is

       ORDERED that the time limits and provisions stated in the Report are

APPROVED.



                                   END OF DOCUMENT


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Case 20-06041-sms    Doc 14   Filed 05/27/20 Entered 05/27/20 14:23:01   Desc Main
                              Document     Page 3 of 3




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